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                          EXHIBIT “A”
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      Filing Attorney — Stephen F. Lombardi, Esq.
      Filing Attorney I.D. #018381980
      LOMBARDI & LOMBARDI, P.A.
      1862 Oak Tree Road
      P.O. Box 2065
      Edison, New Jersey 08818
      732-906-1500
      Attorneys for Plaintiffs
      File No.: 21-29922SFL

                                                        : SUPERIOR COURT OF NEW JERSEY
      BRIAN CAFFREY,                                    : LAW DIVISION
      an individual and MICHELLE A.                     : MIDDLESEX COUNTY
      CAFFREY, his wife, per quod,

                                                        : DOCKET NO.: MID-L-3198-21

                       Plaintiffs                                 CIVIL ACTION

           vs.                                                      SUMMONS

      McARTHUR EXPRESS INC., a
      business entity; JOHN DOE I-V,
      fictitiously named individuals
      and ABC CO., a fictitiously
      named business entity,

                      Defendants

      From the State of New Jersey, To the Defendant (s) Named Above:
                                                       McARTHUR EXPRESS INC.
                The plaintiff, named above, has filed a lawsuit in the Superior Court of New Jersey. The Complaint
      attached to this Summons states the basis for this lawsuit. If you dispute this Complaint, you or your attorney must
      file a written Answer or Motion and proof of service with the Deputy Clerk of the Superior Court in the county
      listed above within 35 days from the date your received this Summons, not counting the date you received it. (A
      directory of the addresses of each Deputy Clerk of the Superior Court is available in the Civil Division Management
      office in the county listed above and online at http://www.iudiciary.state.ni.us/prose/10153 deputyclerldawrefodffi
      If the Complaint is one in foreclosure, then you must file your written Answer or Motion and proof of service with
      the Clerk of the Superior Court, Hughes Justice Complex, CN-971, Trenton, New Jersey 08625. A filing fee*
      payable to the Clerk of the Superior Court and a completed Case Information Statement (available from the Deputy
      Clerk of the Superior Court) must accompany your Answer or Motion when it is filed. You must also send a copy of
      your Answer or Motion to plaintiff's attorney, whose name and address appear above, or to plaintiff if no attorney is
      named above. A telephone call will not protect your rights; you must file and serve a written Answer or Motion
      (with fee of $135.00 and completed Case Information Statement) if you want the Court to hear your defense.
               If you do not file and serve a written Answer or Motion within 35 days, the Court may enter a judgment
      against you for the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the
      Sheriff may seize your money, wages or property to pay all or part of the judgment.
               If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the
      Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an
      attorney and are not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the
      Lawyer Referral Services. A directory with contact information for local Legal Services Offices and Lawyer
      Referral Services is available in the Civil Division Management Office in the county listed above and online at
      Mtn://www.iudiciamstate.M.usiorose/I0153 de ptyclerklawref pelf.
                                                                               Michelle M. Smith
      Dated: May 27, 2021                                                      Clerk of the Superior Court
      Name of Defendant to be served:         McARTHUR EXPRESS INC.
      Address of Defendant to be served: 130 WERLICH DRIVE
                                              CAMBRIDGE ONTARIO, CANADA
                                              NIT 1N6

      Revised 09/04/12, CN 10792-English (Appendix XII-A)
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       Filing Attorney - Stephen F. Lombardi, Esq.
       Filing Attorney I.D. #018381980
       LOMBARDI & LOMBARDI, P.A.
       1862 Oak Tree Road
       P.O. Box 2065
       Edison, New Jersey 08818
       732-906-1500
       Attorneys for Plaintiffs
       File No.: 21-29922SFL

                                     : SUPERIOR COURT OF NEW JERSEY
       BRIAN CAFFREY,                : LAW DIVISION
       an individual and MICHELLE A. : MIDDLESEX COUNTY
       CAFFREY, his wife, per quod,
                                                                            19      g, 1
                                           : DOCKET NO.: 1071

                       Plaintiffs                     CIVIT ACTION

           vs.                             : COMPLAINT AND JURY DEMAND

       McARTHUR. EXPRESS INC., a :
       business entity; JOHN DOE I-V,
       fictitiously named individuals :
       and ABC CO., a fictitiously
       named business entity,

                      Defendants


              Plaintiffs, Brian Caffrey, an individual and Michelle A. Caffrey, his wife, per

       quod, with regard to a cause of action arising in the Township of Sayreville, County of

       Middlesex, and State of New Jersey, and by way of Complaint and Jury Demand against

       all defendants, jointly and severally, say:
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                                            FIRST COUNT

              1. On or about October 26, 2020, the plaintiff, Brian Caffrey, was engaged in a

       prudent and lawful manner, in the removal of items from a delivery truck at the premises

       commonly known as Upright Installation Services at 2600B Main Street Extension, in the

       Township of Sayreville, New Jersey.

              2. On the date and at the place aforesaid, the defendant, John Doe I, a fictitiously

       named individual, was, as the agent, servant, and/or employee of the defendant,

       McArthur Express Inc., a business entity operating the delivery truck from which the

       plaintiff was lawfully and prudently removing items.        Said delivery truck was the

       property of the defendant, McArthur Express Inc., a business entity.

             3. On the date and at the place aforesaid, the defendant, John Doe I, a fictitiously

       named individual, as the agent, servant, and/or employee of the defendant, McArthur

      Express Inc., a business entity did maintain and operate said delivery truck in a negligent

       and unreasonable manner such that the plaintiff, Brian Caffrey, an individual, was caused

      to be expelled therefrom.

             4. As a result of the negligence of the defendant, John Doe I, a fictitiously named

      individual, as the agent, servant, and/or employee of the defendant, McArthur Express

      Inc., a business entity, and the ensuing propulsion, the plaintiff, Brian Caffrey, an

      individual, did sustain bodily injury. He has suffered great pain of mind and body and

      will continue to so suffer in the future. He has been required to expend monies for the

      medical, hospital, and surgical care of his injuries. He has been prevented from attending

      to his normal and usual activities.
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              5. This claim is maintainable pursuant to the New Jersey Automobile Reparation

       Reform Act.

              WHEREFORE, the plaintiff, Brian Caffrey, an individual, demands judgment

       against the defendants, jointly and severally, for compensatory damages together with

       interest and costs of suit.

                                            SECOND COUNT

              1. The plaintiffs repeat the allegations of the First Count as if same were set forth

       herein at length.

              2. Michelle A. Caffrey, is the lawful spouse of the plaintiff, Brian Caffrey.

              3. As a direct and proximate result of the carelessness and negligence of the

       defendant, John Doe I, a fictitiously named individual, as the agent, servant, and/or

       employee of the defendant, McArthur Express Inc., a business entity, Michelle A.

       Caffrey was and will be deprived of the aid, services, society, and consortium of her said

       husband.

              WHEREFORE, the plaintiff, Michelle A. Caffrey, an individual, demands

       judgment against the defendants, jointly and severally, for compensatory damages

       together with interest and costs of suit.

                                            THIRD COUNT

              1. The plaintiffs repeat the allegations of the First Count and Second Count as if

       same were set forth herein at length.
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              2.    John Doe and ABC Co. are fictitiously named defendants respectively

        representing any persons and/or business entities which had ownership and/or control of

        any of the instrumentalities of the damages complained of herein or who are otherwise

        liable for the damages complained of herein. The plaintiffs reserve their right to amend

       this Complaint to implead the names of such persons and/or business entities should the

       identity and/or liability of same be revealed during the course of discovery herein.

              WHEREFORE, the plaintiffs demands judgment against the defendants, jointly

       and severally, for compensatory damages together with interest and costs of suit.

                                            JURY DEMAND

              Plaintiffs hereby demand a trial by jury of six (6) persons on all issues so triable.

                                           CERTIFICATION

              The undersigned certifies that to the best of his knowledge and belief, there is not

       pending any other action which arises from the incident alleged in the Complaint or

       which involves the parties to this action.

                                   CERTIFICATION R.4:5-1 (b) (3)

              The undersigned certifies that the within pleadings contains no personal

       confidential identifiers. The undersigned recognizes a responsibility to ensure the same

       as to subsequent pleadings.
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                               DESIGNATION OF TRIAL COUNSEL

              Pursuant to the provisions of R.4:254, Stephen F. Lombardi, Esq. is hereby

       designated as trial counsel.

                                                    LOMBARDI & LOMBARDI, P.A.
                                                    Attorneys for Plaintiffs




       DATED: May 27, 2021                            y: SIEPHEN F. LOMBARDI
Case 3:22-cv-02125-GC-DEA Document 1-2 Filed 04/12/22 Page 8 of 9 PageID: 18
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                         Civil Case Information Statement
                       DT                         e


 Case Caption: CAFFREY BRIAN VS MCARTHUR                          Case Type: AUTO NEGLIGENCE-PERSONAL INJURY (NON-
EXPRESS INC.                                                      VERBAL THRESHOLD)
 Case Initiation Date: 05/27/2021                                 Document Type: Complaint with Jury Demand
Attorney Name: STEPHEN F LOMBARDI                                 Jury Demand: YES - 6 JURORS
Firm Name: LOMBARDI & LOMBARDI                                    Is this a professional malpractice case? NO
Address: 1862 OAK TREE ROAD                                       Related cases pending: NO
EDISON NJ 088200000                                              If yes, list docket numbers:
Phone: 7329061500                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : Caffrey, Brian                         transaction or occurrence)? NO
Name of Defendant's Primary Insurance Company
(if known): None                                                  Are sexual abuse claims alleged by: Brian Caffrey? NO


                                                                 Are sexual abuse claims alleged by: Michelle A Caffrey? NO



        _Fa           CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:

 Does the statute governing this case provide for payment of fees by the losing party? NO

 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:



Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:



Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

05/27/2021                                                                                    /s/ STEPHEN F LOMBARDI
Dated                                                                                                          Signed
   Case 3:22-cv-02125-GC-DEA Document 1-2 Filed 04/12/22 Page 9 of 9 PageID: 19
                      NJ SUPERIOR COURT LAWYER REFERRAL AND LEGAL SERVICE LIST



     ATLANTIC COUNTY:                    ESSEX COUNTY:                     MONMOUTH COUNTY:                SUSSEX COUNTY:
     Deputy Clerk, Superior Court        Deputy Clerk, Superior Court      Deputy Clerk, Superior Court    Deputy Clerk, Superior
     Civil Division, Direct Filing       Civil Customer Service            Court House                     Court
    1201 Bacharach Blvd., 1st FL         Hall of Records, Room 201         P. 0. Box 1269                 Sussex County Judicial
    Atlantic City, NJ 08401             465 Dr. Martin Luther /Ong Jr.     Freehold, NJ 07728-1269         Center
    LAWYER REFERRAL                     Blvd.                              LAWYER REFERRAL                43-47 High Street
    (609) 345-3444                      Newark, NJ 07102                   (732) 431-5544                 Newton, NJ 07860
    LEGAL SERVICES                      LAWYER REFERRAL                    LEGAL SERVICES                 LAWYER REFERRAL
    (609) 348-4200                      (973) 622-6204                     (732) 866-0020                 (973) 267-5882
                                        LEGAL SERVICES .                                                  LEGAL SERVICES
                                        (973) 624-4500                                                    (973) 383-7400

    BERGEN COUNTY:                      GLOUCESTER COUNTY;                 MORRIS COUNTY:                  UNION COUNTY:
    Deputy Clerk, Superior Court        Deputy Clerk, Superior Court       Morris County Courthouse       Deputy Cleric, Superior
    Civil Division, Room 115            Civil Case Management Office,      Civil Division                  Court
    Justice Center, 10 Main St          Attn: Intake, First FL, Court      Washington & Court Streets     1st Floor, Cotirt House
    Hackensack, NJ 07601               House                              P. 0. Box 910                   2 Broad Street
   LAWYER REFERRAL                     1 North Broad Street               Morristown, NJ 07963-0910       Elizabeth, NJ 07207-
   (201)488-0044                       Woodbury, NJ 08096                 LAWYER REFERRAL                 6073
   LEGAL SERVICES                      LAWYER REFERRAL                    (973) 267-5882                  LAWYER REFERRAL
   (201) 487-2166                      (856) 8484589                      LEGAL SERVICES                  (908) 353-4715
                                       LEGAL SERVICES                     (973)285-6911                   LEGAL SERVICES
                                       (856) 848-5360                                                     (908) 3544340

   BURLINGTON COUNTY:                  HUDSON COUNTY:                     OCEAN COUNTY:                   WARREN COUNTY:
   Deputy Clerk, Superior Court        Deputy Clerk, Superior Court       Deputy Clerk, Superior Court     Deputy Clerk, Superior
   Central Processing Office           Civil Records Dept                 Court House, Room 121           Court
   Attn: Judicial Intake              Brennan Court House, 1st Floor      118 Washington Street            Civil Division, Court
   First Ft, Courts Facility          583 Newark Avenue                   P.O. Box 2191                   House
   49 Rancocas Road                   Jersey City, NJ 07306               Toms River, NJ 08754-2191       413 Second Street
  Mt Holly, NJ 08060                  LAWYER REFERRAL                     LAWYER REFERRAL                 Belvidere, NJ 07823-
  LAWYER REFERRAL                     (201) 798-2727                      (732)240-3666                   1500
  (609) 261-4862                      LEGAL SERVICES                      LEGAL SERVICES                  LAWYER REFERRAL
  LEGAL SERVICES                      (201) 792-6363                      (732) 341-2727                  (908) 8594300
  (609) 261-1088                                                                                          LEGAL SERVICES
                                                                                                          (908) 475-2010
  CAMDEN COUNTY:                       HUNTERDON COUNTY:                 PASSAIC COUNTY:
  Deputy Clerk, Superior Court         Deputy Clerk, Superior Court      Deputy Clerk. Superior Court
  Civil Processing Office              Civil Division                    Civil Division - Court House
  Hall of Jubtioe                     65 Park Avenue                     77 Hamilton Street
  1st Fl, Suite 150                   Remington, NJ 08822                Paterson, NJ 07505
  101 South 5th Street                LAWYER REFERRAL                    LAWYER REFERRAL
 Camden, NJ 08103                     (908)236-6109                      (973) 278-9223
 LAWYER REFERRAL                      LEGAI SERVICES                     LEGAL SERVICES
 (856)482-0618                        (908) 782-7979                     (973) 523-2900
 LEGAL SERVICES
 (856) 964-2010

 CAPE MAY COUNTY:                     MERCER COUNTY:                     SALEM COUNTY:
 Deputy Clerk, Superior Court         Deputy Clerk, Superior Court        Deputy Clerk, Superior Court
9 N. Main Street                      Local Filing Office, Courthouse    Attn: Civil Case Management
 Cape May Court House, NJ             175 S. Broad Street                Office
 08210                               P. 0. Box 8068                      92 Market Street
LAWYER REFERRAL                      Trenton, NJ 08650                   Salem, NJ 08079
(609)463-0313                        LAWYER REFERRAL                     LAWYER REFERRAL
LEGAL SERVICES                       (609) 585-6200                      (856) 935-5629
(609)465-3001                        LEGAL SERVICES                      LEGAL SERVICES
                                     (609) 695-6249                      (856) 691-0494

 CUMBERLAND COUNTY:                   MIDDLESEX COUNTY:                  SOMERSET COUNTY:
 Deputy Cleric, Superior Court        Deputy Clerk, Superior Court       Deputy Clerk, Superior Court
 Civil Case Management Office         Middlesex Vicinage                 Civil Division Office
 60 West Broad Street                Second Floor, Tower                 40 North Bridge Street
P. 0. Box 10                          56 Paterson Street                 P. 0. Box 3000
Bridgeton, NJ 083'12                 P. 0. Box 2633                      Somerville, NJ 08876
LAWYER REFERRAL                      New Brunswick, NJ 08903-2633        LAWYER REFERRAL
(856) 696-5550                       LAWYER REFERRAL                     (908) 695-2323
LEGAL SERVICES                       (732) 828-0053                      LEGAL SERVICES
(856) 691-0494                       LEGAL SERVICES                      (908) 231-0840
                                     (732) 249-7600
